  Case: 4:17-cv-02191-RLW Doc. #: 7 Filed: 10/27/17 Page: 1 of 2 PageID #: 14




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

                                                 :
Taylor Limb-Reynolds,                            :
                                                 : Civil Action No.: 4:17-cv-2191-RLW
                                                 :
                      Plaintiff,                 :
       v.                                        :
                                                 :
Key 2 Recovery, Inc.; and DOES 1-10,             :
inclusive,                                       :
                                                 :
                      Defendants.                :


                                   NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The Plaintiff anticipates filing a notice of withdrawal of Complaint and voluntary

dismissal of this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 60 days.


Dated: October 27, 2017

                                                     Respectfully submitted,

                                                     By __/s/ Sergei Lemberg____________

                                                     Sergei Lemberg, Esq.
                                                     LEMBERG LAW, L.L.C.
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                                CERTIFICATE OF SERVICE

        I hereby certify that on October 27, 2017, a true and correct copy of the foregoing Notice
of Settlement was served electronically by the U.S. District Court Eastern District of Missouri
Electronic Document Filing System (ECF) and that the document is available on the ECF
system.


                                             By /s/ Sergei Lemberg
                                                    Sergei Lemberg, Esq.
